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 8                                 UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         Case No.: 1:18 cr 00182 LJO SKO

12                          Plaintiff,                 STIPULATION TO MODIFY
                                                       DEFENDANT’S PRETRIAL
13   vs.                                               RELEASE CONDITIONS
                                                       AND ORDER
14   ELFEGO ALCALA,                                    Judge: Hon. Sheila K. Oberto

15                          Defendant

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17           IT IS HEREBY STIPULATED by and between the parties hereto through their respective

18   counsel, RICHARD A. BESHWATE, JR., attorney for Defendant, ELFEGO ALCALA,

19   and LAURA WITHERS, Assistant U.S. Attorney, that Defendant’s MOTION TO MODIFY

20   PRETRIAL RELEAE CONDITIONS be taken off calendar because the parties have agreed that

21   Defendant’s Pretrial Services Location Monitoring Condition be removed upon him being placed

22   upon ICE electronic monitoring, which is to occur Tuesday, December 18, 2018.

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24   Date: December 17, 2018                                  Respectfully submitted,

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                                                              /S/ Richard A. Beshwate, Jr.
26                                                            RICHARD A. BESHWATE, JR.
                                                              Attorney for ELFEGO ALCALA
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                                                              /S/ Laura Withers
28                                                            Laura Withers, AUSA

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                                         SENTENCING MEMORANDUM
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 2                                                  ORDER
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 4            It is hereby ordered that the Motion to Modify Defendant, ELFEGO ALCALA’s, Pretrial
 5   Release Conditions be taken off calendar pursuant to the parties’ agreement that the Pretrial Services
 6   Location Monitoring Condition shall be removed and Mr. ALCALA will be placed on ICE electronic
 7   monitoring.
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 9   IT IS SO ORDERED.

10   Dated:     December 17, 2018                                /s/   Sheila K. Oberto             .
11                                                       UNITED STATES MAGISTRATE JUDGE

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                                      SENTENCING MEMORANDUM
